     Case 8:22-cv-00099-DOC-DFM Document 164-13 Filed 03/03/22 Page 1 of 2 Page ID
                                      #:2483

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11
12                         CENTRAL DISTRICT OF CALIFORNIA
13                                SOUTHERN DIVISION
14      JOHN C. EASTMAN                       Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,
16
        vs.
17
18      BENNIE G. THOMPSON, et al.,

19                  Defendants.
20
21

22
23
24
25
26                                    Exhibit H
27

28
   P-R000285
   (2021-076) Case  8:22-cv-00099-DOC-DFM Document 164-13 Filed 03/03/22 Page 2 of 2 Page ID
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                                            PRIVATE
                                     Wednesday, January 6, 2021


            10:50 AM          Depart The White House en route The Ellipse
            (5 min)

            11:00 AM          REMARKS AT THE
            (30 min)          SAVE AMERICA RALLY
                              Press:     Open
                              Location:  The Ellipse

            11:35 AM          Depart The Ellipse en route The White House
            (5 min)

            11:40 AM          Arrive The White House

            RON:              The White House




                                                                      1/6/2021 11:22 AM
